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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                               Crim. No. r8-CR-32-2 (DLF)

                                               FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.



       PARTIES'JOINT FILING REGARDING THE UNSEALING OF HEARING
                TRANSCRIPTS AND PLEADINGS RELATED TO
             MODIFYING THE PROTECTIVE ORDERIN THIS CASE

       Pursuant to the discussion during the JuJy 17,2019 motion hearing, Defendant Concord

Management and Consulting,        LLC ("Defendant" or "Concord") and the United                States

(collectively, the "Parties), by and through counsel, submit this joint filing regarding the parties'

positions on unsealing certain hearing transcripts and pleadings related to modifijing the Protective

Order in this case. The parties have reviewed the pleadings and transcripts identified by the Court

at the hearing on July 17, 2019, and the parties have also reviewed the docket to see   if they could

identifi any additional filings that would   be appropriate for unsealing.

       As the Court will see, for the most part, the parties propose unsealing, with limited

redactions, the kanscripts and pleadings related to this litigation. Where the transcripts and

pleadings reference ongoing grand jury investigations, the parties have proposed, pursuant to Rule

6(e) of the Federal Rules of Criminal Procedure, that the Court approve redactions or approve that

a pieading remain under seal in its entirety. Where the transcripts and pleadings discuss the

contents or handling ofsensitive discovery materials, the parties have asked that the Court approve

redactions or permit pleadings to remain under seal in their entirety        in order to enforce the


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provisions ofthe Protective Order that the Court has entered (and is in the process of modifting)

in this case. Because such redactions and continued sealing would protect the interests embodied

in the Protective Order, the parties submit that permitting these redactions and continued sealing

would be an appropriate exercise of the Court's inherent power to seal court fllings. See United

States   v.    Hubbard, 650 F.2d 293, 315-16 (D.C.             Cir. 1980) (citing Nixon v. l|arner
Communications, lnc.,435 U.S. 589, 598        (1978). Finally, there are several instances where the

govemment has proposed redactions of discussions of sensitive law enforcement techniques, and

Concord has agreed       to   these redactions. Publicizing discussions         of   these sensitive law

enforcement techniques would compromise the very law enforcement and national security

interests that the Protective Order seeks to protect. Accordingly, the parties submits that permitting

these redactions would be an appropriate exercise      ofthe Court's inherent power to seal court filings

(and parts of Court   filings). 1d

         The parties   will explain below the justification(s) invoked to        support redactions or

continued sealing each time that is the parties' recommendation. With respect to the following

transcripts and pleadings, which are currently under seal, the parties take the following joint

positions:

         .       Dkt. No. 79 (Motion for Leave to File Exlibit Under Seal): The parties have no

objection to unsealing and submit that no redactions are required.

         .       Dkt. No. 79-1 (Text ofProposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

         .       Dkt. No. 79-2 (Exhibit B to Concord's Motion for Approval to Disclose Discovery

Pursuant to Protective Order): The parties submit that this pleading should remain under seal in its




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entirety as it addresses the handling ofsensitive discovery. The parties do not object, however, to

the description of this pleading being docketed.

            .       Dkt. No. 92 (Transcript of Proceedings Held on l/11/19): The parties have no

objection to unsealing but submit that redactions are required. The proposed redactions deal with

discussions of the contents and handling ofsensitive discovery materials, as well as discussions       of

sensitive law enforcement techniques. The parties' proposed redactions are enclosed as Exhibit A

to this filing.

            .       Dkt. No. 96 (Motion for Leave to File Partially Under Seal): The parties have no

objection to unsealing and submit that no redactions are required.

            .       Dkt. No. 96-1 (Govemment's Response to Concord's Proposal for Disclosure of

Sensitive Discovery): The parties submit that this pleading should remain under seal in its entirety

as   it   addresses the handling   of sensitive discovery (this is a response to Dkt. No. 79-2, discussed

above). The parties do not object, however, to the description ofthis pleading being docketed.

            .       Dkt. No. 98 (Motion for Leave to File Under Seal): The parties have no objection

to unsealing and submit that no redactions are required.

            .       Dkt. No. 98-1 (Govemment's Supplement to Amended Opposition to Defendant's

Motion for Approval to Disclose Discovery Pursuant to Protective Order): The parties have no

objection to unsealing and submit that no redactions are required.

            .       Dkt. No. 105 (Motion for Leave to File Partially Under Seal): The parties have no

objection to unsealing and submit that no redactions are required.

            .       Dkt. 105-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.




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           .         Dkt. i 05-2 (Reply in Support of Motion for Approval to Disclose Discovery

Pursuant to Protective Order (unredacted)): The parties propose that this pleading remain under

seal. A redacted version has already been filed on public docket (Dkt. No. 103). The parties do

not object, however, to the description ofthis pleading being docketed.

           .         Dkt. 105-3 (Exhibit B to Reply in Support of Motion for Approval to Disclose

Discovery Pursuant to Protective Order): The parties submit that this pleading should remain under

seal in its entirely as     il relates to an ongoing investigation.

           .         Dkt. 105-4 (Exhibit C to Reply in Support of Motion for Approval to Disclose

Discovery Pursuant to Protective Order): The parties submit that this pleading should remain under

seal, as   it   addresses the handling   of sensitive discovery.

           .         Dkt. No. 107 (Motion for Partial Unsealing of Transcript of Proceedings on March

7   ,2019):     The parties have no objection to unsealing and submit that no redactions are required.

           .         Dk1.   No. 107-1 (Exhibit   -   Proposed Redactions to Transcript of Proceedings on

March 7, 2019): As this filing reveals the text that the Court ultimately approved redacting from

this transcript, the parties submit that this pleading should remain under seal in its entirety. To the

extent that it appears that a redacted version ofDkt. 107-1 has not been publicly docketed, despite

the Court's Minute Order dated March 12,2019, the parties are happy to file a redacted version

of Dkt. 107-1 along with the other unsealed/redacted pleadings and transcripts discussed in this

filing.

           .        Dkt. No. 113 (Motion for Leave to File Under Seal): The parties have no objection

to unsealing and submit that no redactions are required.

           .        Dkt. No. 113-1 (Govemment's Motion for Status Hearing.l: The parties have no

objection to unsealing and submit that no redactions are required.




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       .        Dkt. No. 113-2 (Text of Proposed Order): The parties have no objection to

unsealing and submit that no redactions are required.

       .        Dkt. No. 114 (Govemment's Opposition Regarding Motion for Bill of Particulars):

The parties have no objection to unsealing but submit that redactions are required. The proposed

redactions deal with discussions of the contents of sensitive discovery materials. The parties'

proposed redactions are enclosed as Exhibit B to this filing.

       .        Dkt. 116 (Motion for Leave to File Under Seal): The parties have no objection to

unsealing and submit that no redactions are required.

       .        Dkt. 116-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

       .        Dkt. 116-2 @esponse to Govemment's Motion for Starus Hearing): The parties

have no objection to unsealing and submit that no redactions are required.

       .        Dkt. 120 (Motion for Leave to File Under Seat): The parties have no objection to

unsealing and submit that no redactions are required.

       .       Dkt. 120-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

       .       Dkt. 120-2 (Govemment's Reply in Support of Motion for Status Hearing): The

parties have no objection to unsealing and submit that no redactions are required.

       .       Dkt. 120-3 (Exhibit A): The parties have no objection to unsealing and submit that

no redactions are required.

       .       Dkt. 123 (Motion for Leave to File Partially Under Seal): The parties have no

objection to unsealing and submit that no redactions are required'




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         .         Dkt. 123-i (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

         .         Dkt. 123-2 (Reply in Support of Motion for Bill of Particulars (unredacted)): The

parties propose that this pleading remain under seal. A redacted version has already been filed on

public docket (Dkt. No. 122). The parties do not object, however, to the description ofthis pleading

being docketed.

         .         Dkt. i28 (Transcript of Proceedings Held on 4/10/19): The parties have no

objection to unsealing but submit that redactions are required. The proposed redactions deal with

discussions ofthe contents and handling ofsensitive discovery materials, as well as discussions   of

sensitive law enforcement techniques. The parties' proposed redactions are enclosed as Exhibit C

to this filing.

         .         Dkt. 141 (Motion to File Under Seal): The parties have no objection to unsealing

and submit that no redactions are required.

         .         Dkt. 141-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

         .         Dkt. 141-2 (Govemment's Motion Regarding Protective Order): The parties have

no objection to unsealing but submit that redactions are required. The proposed redactions deal

with discussions of the contents and handling of sensitive discovery materials, as well           as


discussions       of   sensitive law enforcement techniques. The parties' proposed redactions are

enclosed as Exhibit D to this      filing.

         .         Dkt. 141-3 (Govemment's Proposed Protective Order): The parties have           no

objection to unsealing and submit that no redactions are required.




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         .        Dkt. 145 (Motion for Leave to File Under Seal): The parties have no objection to

unsealing and submit that no redactions are required.

         .        Dkt. 145-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

         .        Dkt. 145-2 (Response to Motion Regarding Protective Order): The parties have no

objection to unsealing but submit that redactions are required. The proposed redactions deal with

discussions ofthe contents and handling ofsensitive discovery materials, as well as discussions   of

sensitive law enforcement techniques. The parties' proposed redactions are enclosed as Exhibit E

to this filing.

        .         Dkt. 146 (Motion for Leave to File Under Seal): The parties have no objection to

unsealing and submit that no redactions are required.

        .         Dkt. 146-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.

        .         Dkt. 146-2 (Govemment's Bill of Particulars): The parties have no objection to

unsealing but submit that redactions are required. For the reasons discussed at the hearing on July

17,2019, the govemment has proposed redacting the names of unindicted co-conspirators, and

Concord agrees to these proposed redactions. The parties' proposed redactions are enclosed as

Exhibit F to this filing.

        .         Dkt. 152 (Motion for Leave to File Under Seal): The parties have no objection to

unsealing and submit that no redactions are required.

        .         Dkt. 152-1 (Text of Proposed Order): The parties have no objection to unsealing

and submit that no redactions are required.




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          .         Dkt. 152-2 (Govemment's Reply in Support of Motion to Modify Protective

Order): The parties have no objection to unsealing but submit that redactions are required. The

proposed redactions deal with discussions of the contents and handling of sensitive discovery

materials, as well as discussions of sensitive law enforcement techniques. The parties' proposed

redactions are enclosed as Exhibit G to this filing.

          .         Transcript of Proceedings Held on 7-17-2019: The parties have no objection to

unsealing but submit that redactions are required. The proposed redactions deal with discussions

of the contents and handling of sensitive discovery materials, as well as discussions of sensitive

law enforcement techniques. The parties' proposed redactions are enclosed as Exhibit H to this

filing.



          WHERIFORE, the parties ask that the Court unseal the pleadings and transcripts discussed

in this {iling in a manner consistent with the parties' proposals. Should the Court agree with the

parties' proposed redactions, the parties ask that the Court give the parties leave to make the

proposed redactions and file those redactions publicly on the docket.




                                          Respectfully submitted,


JOHN C. DEMERS                                                  JESSIE K.   LIU
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                               CERTIFICATE OF SERVICE

       I hereby certify that on A:ug:ust2,2019,I caused a copy of the foregoing motion to seal to

be transmitted to Katherine Seikaly and Eric Dubelier, counsel   ofrecord for Concord

Management and Consulting LLC, via email.


                                                           By:         lsl
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